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                               UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     MCALLEN DIVISION

 LETRICIA L. RIVAS,

     Plaintiff,
                                                        Case No. 7:21-cv-00455
                  v.

 HOLIDAY FINANCE CORPORATION,

      Defendant.


     MOTION FOR EXTENSION OF TIME TO FILE DISMISSAL PAPERS AND TO
          CANCEL THE INITIAL STATUS CONFERENCE SCHEDULED
                        FOR FEBRUARY 10, 2022

       NOW COMES LETRICIA L. RIVAS (“Plaintiff”), by and through her undersigned

attorney, moving this Honorable Court for an extension of time to file dismissal papers and canceling

the initial statue conference, and in support thereof, stating as follows:

   1. Plaintiff filed her complaint against Defendant on November 29, 2021. [Dkt. 1].

   2. On November 29, 2021 this honorable court set an Initial Conference for February 10, 2022

on this matter. [Dkt. 8].

   3. The parties in this case have reached a settlement.

   4. On February 9, 2022 Plaintiff filed a Notice of Settlement with the Court. [Dkt. 15]

   5. The settlement has not been consummated to date.

   6. Specifically, Plaintiff and Defendant are in the process of satisfying their obligations under

the terms of the prospective agreement.

   7. Accordingly, Plaintiff is respectfully requesting an additional 60 days, through April 11, 2022

to consummate the settlement and file dismissal papers.




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   8. Furthermore, Plaintiff is requesting that this honorable court cancel the initial status

conference scheduled for today (February 10, 2022).

   9. Plaintiff’s request to cancel the initial status conference is requested in good faith in order to

keep fees and costs at a minimum in this matter as the parties have reached a settlement.

       WHEREFORE, Plaintiff respectfully requests the Court to enter an order extending the

deadline to file dismissal papers to April 11, 2022, canceling the initial status conference scheduled

for February 10, 2022 and grant such other relief as the Court deems appropriate.

Dated: February 10, 2022

                                                               Respectfully submitted,

                                                               /s/ Victor T. Metroff
                                                               Victor T. Metroff, Esq.
                                                               Mohammed O. Badwan, Esq.
                                                               Counsel for Plaintiff
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                               CERTIFICATE OF SERVICE

        I, Victor T. Metroff, certify that on February 10, 2022, the foregoing document was filed
electronically using the Court’s CM/ECF system, which will accomplish service on all counsel of
record.

                                                    /s/ Victor T. Metroff




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